     Case 1:22-cv-01429-CDB            Document 40      Filed 02/19/25      Page 1 of 3


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 8                                   UNITED STATES DISTRICT COURT

 9                              EASTERN DISTRICT OF CALIFORNIA
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11    JIM CAGE,                                       Case No.: 1:22-cv-01429-CDB (PC)

12                      Plaintiff,                    ORDER TO SHOW CAUSE IN WRITING
                                                      WHY SANCTIONS SHOULD NOT BE
13           v.                                       IMPOSED FOR PLAINTIFF’S FAILURE
                                                      TO FILE AN OPPOSITION OR
14    A. JOHNSON, et al.,                             STATEMENT OF NON-OPPOSITION

15                      Defendants.                   14-DAY DEADLINE

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17

18          Plaintiff Jim Cage is proceeding pro se and in forma pauperis in this civil rights action

19   pursuant to 42 U.S.C. § 1983. This action proceeds on Plaintiff’s Eighth Amendment excessive

20   force claim against Defendant Rojas.

21          I.     INTRODUCTION

22          The Court issued its Discovery and Scheduling Order on January 25, 2024. (Doc. 26.)

23          On December 2, 2024, Defendant filed an Ex Parte Motion for Extension of Time to File

24   Motion for Dispositive Motion. (Doc. 35.) The Court granted the motion and extended the

25   deadline for filing a dispositive motion to December 26, 2024. (Doc. 36.)

26          On December 23, 2024, Defendant filed a second ex parte motion to extend the

27   dispositive motion filing deadline. (Doc. 37.) The Court granted the motion and extended the

28   deadline to January 16, 2025. (Doc. 38.)
         Case 1:22-cv-01429-CDB              Document 40       Filed 02/19/25    Page 2 of 3


 1              On January 16, 2025, Defendant filed a motion for summary judgment. (Doc. 39.)

 2   Defendant’s motion included a Rand1 warning (Doc. 39-15), specifically addressing the

 3   requirements concerning an opposition to a motion for summary judgment. Despite the passage of

 4   more than 21 days, Plaintiff has failed to file an opposition or statement of non-opposition to

 5   Defendant’s motion.

 6              II.     DISCUSSION

 7              Rule 56 of the Federal Rules of Civil Procedure concerns summary judgment. It provides,

 8   in relevant part:

 9                      Failure to Properly Support of Address a Fact. If a party fails to
                        properly support an assertion of fact or fails to properly address
10                      another party’s assertion of fact as required by Rule 56(c), the court
                        may:
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                          (1) give an opportunity to properly support or address the fact;
12
                          (2) consider the fact undisputed for purposes of the motion;
13
                          (3) grant summary judgment if the motion and supporting
14                            materials—including the facts considered undisputed—show
                              that the movant is entitled to it; or
15
                          (4) issue any other appropriate order.
16

17   Fed. R. Civ. P. 56(e). This Court’s Local Rules, corresponding with Federal Rule of Civil

18   Procedure 11, provide that a “[f]ailure of counsel or of a party to comply with these Rules or with

19   any order of the Court may be grounds for the imposition by the Court of any and all sanctions
20   authorized by statute or Rule or within the inherent power of the Court.” See Local Rule 110.

21   Further, Local Rule 230 states:

22                      Opposition, if any to the granting of a motion shall be served and
                        filed by the responding party not more than twenty-one (21) days
23                      after the date of service of the motion. A responding party who has
                        no opposition to the granting of the motion shall serve and file a
24                      statement to that effect, specifically designating the motion in
                        question. Failure of the responding party to file an opposition or
25                      statement of no opposition may be deemed a waiver of any
                        opposition to the granting of the motion and may result in the
26                      imposition of sanctions.
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         Rand v. Rowland, 154 F.3d 952 (9th Cir. 1998).
                                                           2
     Case 1:22-cv-01429-CDB           Document 40          Filed 02/19/25   Page 3 of 3


 1   Local Rule 230(l). Therefore, Plaintiff’s opposition or statement of non-opposition to Defendant’s

 2   pending motion for summary judgment was due on or before February 6, 2025, plus time for

 3   mailing. Plaintiff has failed to timely file an opposition or statement of non-opposition, and the

 4   time to do so has now passed.

 5           III.   CONCLUSION AND ORDER

 6           Accordingly, the Court ORDERS Plaintiff to show cause in writing, within 14 days of

 7   the date of service of this order, why sanctions should not be imposed for his failure to comply

 8   with the Local Rules. Alternatively, within that same time, Plaintiff may file an opposition or

 9   statement of non-opposition to Defendant’s motion for summary judgment filed January 16,
10   2025.

11           Any failure by Plaintiff to respond to this Order will result in the pending summary

12   judgment motion being deemed submitted and unopposed.

13   IT IS SO ORDERED.
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        Dated:      February 18, 2025                          ___________________                 _
15                                                     UNITED STATES MAGISTRATE JUDGE

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